EXHIBIT A
                                                  te Wblters Klijwer

                PROCESS SERVER DELIVERY DETAILS



Date:            FriJunS, 2020

Server Name:     Guy Connelly

Location:        Plano, TX-DAL




Entity Served    ANDEAVOR LLC

Agent Name       CT CORPORATION SYSTEM

Case Number      2020-CI-07653

Jurisdiction     TX-DAL
                                                                                                              PRIVATE PROCESS

                                                         Case Number: 2020-CI-07653
                                                                                                                                              2S2ecie7653 seeee2
 WALTER scon
 VS.                                                                                                                                  IN THE DISTRICT COURT
                                                                                                                                      438th JUDICIAL DISTRICT
 TESORO REFINING & MARKETING CO LLC ET AL                                                                                              BEXAR COUNTY, TEXAS
  (Note:Attached Document flay Contain Additional Litigants.)

                                                                      CITATION
 "THE STATE OF TEXAS"
 Directed To: ANDEAVORLLC


                    BY SERVING ITS REGISTERED AGENT,'CT CORPORATION SYSTEM


 "You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the clerk who issued this
 citation by 10:00 a.m. on the Monday next following the expiration of twenty days after you were served this CITATION and ORIGINAL
 PETITION , a default judgment may bo taken against you.’ Gaid ORIGINAL PETITION was filed on the 23rd day of April, 2020.




 ISSUED UNDER MY HAND AND SEAL OF SAID COURT ON THIS 11TH DAY OF MAY A.D., 2020.

ANTHONY GBUZBEE                                                                                               Mary Angie Garcia
ATTORNEY FOR PLAINTIFF                                                                                       Bexar Counly District Clerk
600 TRAVIS ST 7300                                                                                           101 W. Nueva, Suite 217
HOUSTON, TX 77002-3009                                                                                       San Antonio, Texas 78205

                                                                                                             By : Laura Qistifio, Deputy
WALTER SCOTT                                                                                                 Case Number: 2e2e-CI-e7653
vs                                                                 Officer's Return                          Court: 438th Judicial District Court
TESORO REFINING & MARKETING CO LLC ET AL
I received this CITATION on_______________          al       .o'clock__ ^M. and:( ) executed it by delivering a copy Of the CITATION with attached ORIGINAL PETITION the
date of delivery endorsed on it to the defendant,                                                        . in person on the                                           at
_______ o'clock__ M. al:_______________                         or( ) not executed because




Fees:                  Badge/PPS #:                 Date certification expires:
                                                                                                                                                     County. Texas
                                                                                             By:
OR: VERIFICATION OF RETURN (If not served by a peace officer) SWORN TO THIS



                                                                                                            NOTARY PUBLIC, STATE OF TEXAS

OR: Hy name is                                                           . my date of birth is                                             , and my address is
                                                                         ___ County.

I declare under penalty of perjury that the foregoing is true and correct. Executed in                                            County, State of Texas, on
the          day of.            , 26____ .

                                                                                             Declarant
                                                                                                                              RETURN TO COURT (0X602)
                                                                                                           PRIVATE PROCESS

                                                          Case Number; 2020-CI-07653
  WALfE^On
                                                                                                                                        ' 28280187653    S88882

  VS.                                                                                                                             IN THE DISTRICT COURT
  TESORO REFINING & MARKETING CO LLC ET AL                                                                                        438th JUDICIAL DISTRICT
  (Mote:Attached Docutnent Hay Contain Additional Litigants.)                                                                      BEXAR COUNTY. TEXAS

                                                                      CITATION
  •THE STATE OF TEXAS"
  Directed To: ANDEAVORLLC


                     BY SERVING ITS REGISTERED AGENT, CT CORPORATION SYSTEM



               m                          ^                                           fi'® ® '^“®" answer with the clerk who issued this
 SmnM                                      following the expiration of twenty days after you were -served thi-s CITATION and ORIGINAI
 Kb 111 ION , a default judgment may be taken against you.* Said ORIGINAL PETITION was filed on the 23rd day of April, 2020.




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 ANTHONY GBUZBEE                                                                                          Maiy Angie Garcia
 ATTORNEY FOR PLAINTIFF                                                                                    Bexar County District Clerk
 600 TRAVIS ST 7300                                                                                        101 W. Nueva, Suite 217
 HOUSTON, TX 77002-3009                                                                                  . San Antonio. Texas 78205

                                                                                                          By: Laura Castillo, Deputy
WALTER SCOTT
VS                                                                                                        Case Numbar: 2e2e-CI-e76S3
                                                                   Officer's Return                       Court: 438th Judicial District Court
TESORO REFINING & MARKETING CO LLC ET AL
I received this CITATION on__________ _             at       .o'clock —and:( ) arecuted it by defivering a aw of the CITATION with attached ORIGINAL PETITION the
date of delivery endorsed on it to the defendant.
                                                             ------------------------------ ---------------- in person on fte _________________________        at
______ o’clock__ at:        ______________                       or ( ) not executed because



Fee^;                  Badge/PPS 9:                 Date cei-tification expires:,

                                                                                                                                               County, Texas
                                                                                         By:
OR: VERIFICATION OF RETURN (If not served by a peace officer) SWORN TO THIS



                                                                                                        NOTARY PUBLIC, STATE OF TEXAS
OR; Hy name is
                                                                        , my date of birth is                                        ,, and ray address is
                                                                        ____ County.

I declare under penalty of perjury that the foregoing is true and correct. Executed in
the
 -■ J__ '    day of.            . 28.                                                                                        County, State of Texas, on


                                                                                        Declarant
                                                                                                                        ORIGINAL (0X882)
FILED
4<23/2020 4:05 PM
Mary Angie Garcja
Bexar County District Clerk
Accepted By: Annabelle Kung
                                                               2020CI07653
                                              CAUSE NO.

              WALTER SCOTT,                                   §            IN THE DISTRICT COURT OF
                                                              §
             Plaintiff,                                       §
                                                              §
                                                              §
                                                              §
              V.                                              §            OF BEXAR COUNTY, TEXAS
                                                              §
                                                              §
             TESORO REFINING & MARKETING CO.§
             LLC and ANDEAVOR LLC           §
                                                                      438TH
                                                              §                    DISTRICT COURT
                                                              §
             Defendants.                                      §
                                                              §            .ITTWY TmAT , T>F.1VrATVnF.n
                                          ELA loma            ORTGTNAT. PF.TTTTON

             TO THE HONORABLE JUDGE OF THIS COURT:

                     NOW COME Plaintifif Walter Scott complaining of Defendants Tesoro Refining & Marketing

             Co., LLC and Andeavor LLC (“Defendants”) and for cause of action. Plaintiff would respectfully

             show tills Honorable Court the following:

             I.      BACKGROUND
                     Plaintiff is a gasoline and petroleum products hauler. On or about the morning of

             September 4, 2019, Plaintiff drove to Defendants’ Golden Eagle Refinery in Martinez, California

             in his combination tractor-tanker to pick up a load of gasoline. Both Defendants have different

             roles in the ownership and/or operation at the Golden Eagle Refinery. After arriving on the

             premises. Plaintiff pulled his rig into a loading terminal lane so that product could be loaded into

             his cargo tank. Once he was properly positioned in the lane, Plaintiff made a complete stop and

             exited his truck to begin the loading process.

                     The ground of loading terminal’s lane was saturated with an excess of petrochemical

             product and mud. Defendants failed to clean and clear the loading bay area such that it was safe


                                                                  I
for workers to load rigs, like Plaintiff. The result of this mixture created an extremely slippery

surface, which Plaintiff would be forced to negotiate in order to complete his loading procedure

and pre-trip inspection. While circling around his truck. Plaintiff lost his footing and fell. But, the

lane was so slippery that Plaintiff did not fall directly to the ground—Plaintiff desperately

attempted to maintain his balance and in the process, was caught in his tractor’s hose. As he was

ensnared, he continued to fall. The force of Plaintiffs tangled fall caused’ Plaintiffs knees,

shoulder and back to “pop,” and Plaintiff landed facedown. Plaintiff blacked out thereafter. When

he awoke. Plaintiff was suspended above the ground by his tangle, with only the brim of his hard

hat keeping his face from the submerging in the mud.

        Shortly after Plaintiff awoke. Plaintiff was assisted by Defendant Tesoro’s personnel to

help extricate Plaintiff from his entanglement. It took three (3) Tesoro/Andeavor personnel and

several minutes to free Plaintiff because of the slippery surface and entangled hose. The force of

the fall immediately caused Plaintiff pain to both of his knees, his shoulder, his back and his head.

After this incident. Plaintiff sought medical treatment for his injuries. Plaintiff continues to treat

and have a long road to recovery.

n.     DISCOVERY LEVF.T.

       Plaintiff intends to conduct discovery under Level 2 of the Texas Rules of Civil Procedure

Rule 190.3 and affirmatively plead that they seek monetary relief of in excess of the jurisdictional

limits of this Honorable Court.

m.     PARTIES

       Plaintiff is an individual residing in Sacramento, California.




                                                 2
       Defendant Tesoro Refining & Marketing Company, LLC is a foreign limited liability

company doing business in Texas. It may be served by and through its registered agent: 1999

Bryan St., Suite 900, Dallas, Texas 75201.

       Defendant Andeavor LLC is a foreign limited liability company doing business in Texas.

They may be served through their registered agent: CT Corporation System at 1999 Bryan St.,

Suite 900, Dallas, Texas 75201. Its headquarters are located in Bexar County, Texas.

rv.    .nTRTsnTrTTON and vf.nttf.
       This Court has jurisdiction over the Defendants, whom are all registered to do business and

actually do business in Texas. Venue is proper in Bexar County because Defendant Andeavor LLC

maintains its principal office in this County. Removal is not proper under 28 U.S.C. 1441(b).

V.     CATTSFS OF ACTTON

       1. NEGLIGENCE

       Plaintiff re-alleges each aforementioned allegation. Defendants owed a duty of reasonable

care to the Plaintiff. Defendants breached the duty of reasonable care in one or more of the

following non-exclusive ways, among others:

       a. Failing to institute and enforce precautionary measures to protect individuals working

           on the premises and work site;

       b. Failing to properly and timely fix, and warn of, any Job hazards;

       c. Failing to safely schedule and/or plan the work;

       d. Failing to ensure the loading terminal was fi-ee and clear of potential hazards prior to

           alloAving any personnel onto it;

       e. Failing to ensure safety personnel were in place;

       f. Failure to follow process safety measures as required by the industry standard;



                                                3
        g. Failure to reasonably carry out duties as per the contracts in place;

        h. Failing to properly train and/or supervise those on site; and

        i.   Failing to maintain a safe work environment for contractors at the facility.

        Each of these acts and omissions, singularly or in combination with others, constitute

negligence which was die proximate cause of this incident and PlaintiiFs injuries.

        2. GROSS NEGLIGENCE

        Plaintiff re-alleges each aforementioned allegation. Plaintiff will further show that the acts

and/or omissions of each Defendant, when viewed objectively from Defendant’s standpoint,

involve an extreme degree of risk considering the probability and magnitude of the potential harm

to others, namely those on the work site. Defendants had actual subjective awareness of the risk

involved, but nevertheless proceeded in conscious indifference to the rights, safety, and/or welfare

of others, including Plaintiff. Specifically, Defendants knew the lane was full of excess product

that could pose and extreme risk to contractors. The Golden Eagle Facility maintained a reputation

of “poor housekeeping,” of which the most recent consequence of the facility’s poor condition was

Plaintiffs injury. Defendants knew of the poor condition of the facility and the loading terminal

lanes but did not care.

        Defendants knew or should have known of the risk or risks associated, and each

Defendant’s actions and omissions constitute gross negligence and malice as those terms are

understood by law.        Therefore, Plaintiff prays that punitive damages be awarded against

Defendants. Plaintiff would show that nothing Plaintiff did, or failed to do, in any way contributed

to this incident.

VI.     DAMAGF.S




                                                   4
        Plaintiff brings this lawsuit to recover for injuries sustained as a result of this incident.

Plaintiff seeks damages for physical impairment in the past and future, pain and suffering in the

past and future, mental anguish in the past and fuUire, medical expenses in the past and future, loss

of earning capacity in the past and future, and loss of household services in the past and future.

Plaintiff also seeks punitive damages in such amount as may be found proper and Just under the

facts and circumstances as determined by the jury. Further, Plaintiff seeks court costs, as well as

pre-judgment and post-judgment interest at the appropriate rate allowed by law.

        All conditions precedent have been performed or have occurred,
vn.     .TTTRY nr.MANn

        Plaintiff respectfully demands a jury trial and tender the appropriate fee.

Vffl. WF.QTTF.STS FOR msrT.OSTrRF.

        Plaintiff requests that each Defendant disclose, within fifty days of service of this Request for

Disclosure, the information and material described in Rule 194.2.

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        California law applies to this lawsuit. The injury occurred in California. The conduct leading

to the injury occurred in California. The relationship between the parties is centered in California.

California has the most significant relationship with this incident, and, as such, California law applies.

X.      PRAYFR

        For these reasons. Plaintiff prays that Defendants be cited to appear and answer, and that

Defendants are joint and severally liable for the following:

        a. Physical pain and suffering in the past and future;

        b. Mental anguish in the past and future;

       c. Physical impairment in the past and future;



                                                    5
d. Medical expenses in the past and future;

e. Loss of consortium and companionship in the past and future;

f. Loss of earning capacity in the past and future;

g. Loss of household services in the past and future; /

h. Punitive damages in such amount as may be found proper and just under the facts and

     circumstances as determined by the July;

i.   Cost of suit;

j. Prejudgment and post-judgment interest; and

k. All other relief to which Plaintiff may be justly entitled.

                                         Respectfully submitted.

                                         The BUZBEE Law Firm
                                           Byr/v/ Anthofty Ct.
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                                          State Bar No. 24001820
                                          Ryan S. Pigg
                                          State Bar No. 24088227
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                                      ATTORNEYS FOR PLAINTIFF




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